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                   Exhibit A
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Godfrey, Richard C.
From:                   Steve Herman [SHERMAN@hhklawfirm.com ]
Sent:                   Friday, November 30, 2012 3:21 PM
To:                     'Sally_Shushan@laed.uscourts.gov '; Ben Allums
Cc:                     James Roy; pjuneau@dheclaims.com ; Nick Gagliano; Godfrey, Richard C.; Bloom, Wendy L.
Subject:                BP Oil - Supplemental Notice Program


Dear Judge Shushan and Ben,



As required by Section 4.4.15, Class Counsel would like to submit for Court approval this updated
Supplemental Notice/Information Program. To that end, we are attaching to this email a package of
materials detailing the proposed Program. The materials are as follows: Media Buy, Budget, and
Creative, including Scripts and Spots. As you may remember, this is a "Call to Action" program and
was always envisioned to supplement the massive, but static, traditional Class Notice program. Upon
mutual consent of the parties, it was decided that this program would be more effective if launched
after the Fairness Hearing, and thus we are presenting to you now, as a revision of what had been
previously submitted. Please note, in this regard, that a change to this updated program is that Mr.
Juneau, in his capacity as Administrator, has agreed to become the "face" of this informational (and
motivational) campaign. His office has been consulted regularly since the Fairness Hearing, and Mr.
Juneau was personally involved in the development and approval of the attached materials and
scripts/ads.



Our goal is to have the TV spots produced and running by December 10. In order to meet that
timeframe, we would respectfully request that BP provide its comments as soon as possible so that
the Court can consider same.



The following outlines the general parameters of the Program:



Media Buy & Budget:



0 $4,536,664.41 in gross media (broadcast, cable, radio, print, internet). This is accomplished
though a deep discount on media commission — saving $425,000, and a smart buy strategy.
(Attached is the proposed media buy) Add in direct phone marketing, website, and a social media
team the gross direct communications budget is 97%



0 The biggest challenge is covering the necessary geographic territory, which includes a total of 28
media markets, on our limited budget. To maximize the effectiveness of this campaign, we targeted
cost efficient markets with television for our heaviest resource allocation. We will still reach out
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through social media, radio, print and phones to the non-TV markets. We also allocated resources for
programming research, like Neilson data. This ensures we are targeting programming with maximum
viewership.



0 You will note a few instances where the media buy is located outside our specified coverage zone.
For example, Atlanta, GA. While in this case the television station is located in Atlanta, their selling
zone includes our markets in Alabama — ads will only run in Alabama. The Memphis broadcast
market will hit Memphis but is the most effective way to reach northern Mississippi.



0 The attached media buy plan does not include production. Unused production money will be
reinvested in direct advertising.



0 The current plan calls for a dip in advertising during the Christmas Holiday. During this lull, we will
put the priority on using earned media, social media and other communication mediums.



0 We will conduct effectiveness testing for social media, phones as well as print communication. We
have allocated resources for focus group testing of the television and radio spots. These measures
will help us maximize every dollar.



Creative:



While there are many different directions for creative in this campaign, we feel this recommendation
will deliver a clean, concise and easy to understand message that produces results.



0 Phase 1: Initial rollout will be to inform residents of the region of their potential claim eligibility
featuring Claims Administrator Pat Juneau. Mr. Juneau approved the attached script. We shot the
commercial on November 29th to accommodate his schedule.



0 Phase 2: The spots "Freeze Frame" and "Answers" both poll tested very high and will be used to
re-enforce Mr. Juneau's opening ad.



0 Once the creative concept is approved, we will develop the micro-targeting plan that includes
localized radio, social media advertising, a phone program and art work for print advertising.
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Subject to approval, we will go live with the campaign on December 10, 2012.



In addition to the material above, Class Counsel anticipates that a website will be created at the
www.BPRecoveryProject.com website.



The content of the site will contain informational pieces about the claims payable in the settlement
and direction to the www.deepwaterhorizonsettlements.com website. Further, we anticipate that
spots will be created for radio and print media will be on the site. However, before we go to the
additional expense of building the site and actually producing TV/radio/print content, we believe it is
more efficient to obtain Court approval for the overall "themes" of the Supplemental Information
Program. If the Court approves the content of the scripts, all of the other content would be
coordinated.



Of course, we would submit to the Court for approval prior to going live with any content.



In conclusion, Class Counsel believes that the material attached meets the requirements of the
Settlement Agreement in that it is consistent with the goals of the Economic Class Notice. The TV
scripts provide additional notice to members of the Economic Class stressing the broad range of
business types that have potential claims under the Settlement and that claims are not limited to just
those businesses close to the Coast or just those businesses that are Seafood/Coastal Tourism
driven. In fact, the Settlement contemplates payments to qualifying businesses regardless of the
facts and circumstances surrounding their loss.



As stated above, our goal is to have the TV spots produced and running by December 10. In order to
meet that timeframe, we need to receive BP's comments on the as soon as possible. Thus, we
respecffully suggest that BP provide its comments by December 5, 2012 so that the Court can
consider same.



We thank you for your consideration.



Jim & Steve



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deleting it from your system. Thank you.

Attachments:
   Draft PSC Campaign Budget 11.26.12.xlsx (40301 Bytes)
   Legal Settlement Announcement Media Plan v23.xlsx (120772 Bytes)
   Final Juneau Script .docx (14832 Bytes)
   Freezeframe & Answers TV Scripts.docx (64205 Bytes)
